

People v Johnson (2021 NY Slip Op 01864)





People v Johnson


2021 NY Slip Op 01864


Decided on March 25, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 25, 2021

Before: Manzanet-Daniels, J.P., Kern, Moulton, Shulman, JJ. 


Ind No. 4688/17 4688/17 Appeal No. 13433 Case No. 2019-5243 

[*1]The People of the State of New York, Respondent,
vRobert Johnson, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Claudia Trupp of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Michael D. Tarbutton of counsel), for respondent.



Judgment, Supreme Court, New York County (Ann E. Scherzer, J. at plea; Ellen N. Biben, J. at sentencing), rendered April 16, 2019, convicting defendant, upon his plea of guilty, of robbery in the third degree and criminal possession of a weapon in the third degree, and sentencing him, as a second felony offender, to concurrent terms of 2½ years to 5 years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the weapon possession conviction and dismissing that count of the indictment, and otherwise affirmed.
The People, in the exercise of their broad prosecutorial discretion, have agreed that the weapon charge should be dismissed under the particular circumstances of this case and in light of recent legislation amending Penal Law § 265.01 to effectively decriminalize the simple possession of gravity knives, notwithstanding that this amendment does not apply retroactively. We find it unnecessary to reach any other issues (see People v Caviness, 176 AD3d 522 [1st Dept 2019], lv denied 34 NY3d 1076 [2019]).
We perceive no basis for reducing the remaining sentence.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 25, 2021








